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                16                                   UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF CALIFORNIA
                17                                      SAN FRANCISCO DIVISION
                18

                19       DAVID AND NATASHA WIT, on behalf               Case No. 3:14-CV-02346-JCS
                         of themselves and all others similarly
                20       situated, and BRIAN MUIR, on his own           DEFENDANTS UNITED HEALTHCARE
                         behalf and on behalf of all others similarly   INSURANCE COMPANY AND UNITED
                21       situated,                                      BEHAVIORAL HEALTH’S NOTICE OF
                                                                        MOTION AND MOTION TO DISMISS
                22                          Plaintiffs,                 PURSUANT TO RULE 12(b)(6);
                                                                        MEMORANDUM OF POINTS AND
                23              v.                                      AUTHORITIES IN SUPPORT THEREOF
                24       UNITED HEALTHCARE INSURANCE                    Date:                September 26, 2014
                         COMPANY and UNITED BEHAVIORAL                  Time:                2:00 P.M.
                25       HEALTH (operating as OPTUMHEALTH               Judge:               Hon. Joseph Spero
                         BEHAVIORAL SOLUTIONS),                         Courtroom:           G
                26
                                            Defendants.                 Action Filed:        May 21, 2014
                27

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& M ORING LLP                                                                                                DEFENDANTS’ MOT. TO DISMISS; MEMO. OF P&A
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                                                                                             -v-           IN SUPPORT THEREOF; CASE NO. 3:14-CV-02346-JCS
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                     1                        NOTICE OF MOTION AND MOTION TO DISMISS

                     2   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

                     3          PLEASE TAKE NOTICE that on September 26, 2014 at 2:00 p.m., or as soon thereafter

                     4   as this matter may be heard, in Courtroom G, 15th floor, 450 Golden Gate Avenue, San

                     5   Francisco, California, before the Honorable Joseph Spero, Defendants United Healthcare

                     6   Insurance Company (“UHIC”) and United Behavioral Health (“UBH”) (collectively,

                     7   “Defendants”) will and hereby do move to dismiss Plaintiffs David and Natasha Wit and Brian

                     8   Muir’s (collectively, “Plaintiffs”) Class Action Complaint.

                     9          Defendants move the Court for an order dismissing Plaintiffs’ Complaint in its entirety

                10       and with prejudice. Defendants’ Motion to Dismiss is made pursuant to Federal Rule of Civil

                11       Procedure 12(b)(6), and is based on this Notice of Motion and Motion, the accompanying

                12       Memorandum of Points and Authorities and Declaration of Jane Stalinski, all pleadings on file in

                13       this matter, and other matters as may be presented to the Court.

                14                                  ISSUES TO BE DECIDED (L.R. 7-4(A)(3))
                15              1.      Whether all of the Counts in Plaintiffs’ Complaint should be dismissed for failure

                16       to state a claim because Plaintiffs fail to identify the specific Employee Retirement Income

                17       Security Act (“ERISA”) civil enforcement provision that gives rises to any of their claims.

                18              2.      Whether all of the Counts in Plaintiffs’ Complaint should be dismissed to the

                19       extent they are based on an alleged violation of the Mental Health Parity and Addiction Equity

                20       Act (“MHPAEA”) because Plaintiffs fail to plead facts to show any specific and actionable

                21       disparity between mental health or substance use disorder benefits and medical/surgical benefits

                22       with respect to residential treatment or nutritional counseling benefits.

                23              3.      Whether Count III in Plaintiffs’ Complaint should be dismissed for failure to state

                24       a claim because Plaintiffs fail to allege facts to show that (i) nutritional counseling was a covered

                25       benefit under Ms. Wit’s health plan or (ii) Ms. Wit exhausted her plan’s administrative remedies.

                26              4.      Whether Counts I and III in Plaintiffs’ Complaint should be dismissed for failure

                27       to state a claim because Plaintiffs allege substantively identical claims for both denial of benefits

                28       and breach of fiduciary duty under ERISA.
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                     1                        MEMORANDUM OF POINTS AND AUTHORITIES

                     2                                           INTRODUCTION

                     3          The putative class-action Complaint filed by Plaintiffs is facially deficient and should be

                     4   dismissed. Plaintiffs bring claims under ERISA alleging that Defendants improperly denied their

                     5   requests for coverage of residential treatment and nutritional counseling and violated MHPAEA.

                     6   While the facts will ultimately demonstrate that Defendants processed each of the requests for

                     7   coverage in compliance with the terms of the relevant benefit plans and federal law, Plaintiffs’

                     8   claims also fail at the pleadings stage. Plaintiffs do not identify the specific ERISA civil

                     9   enforcement provision that serve as the basis for their claims; they fail to allege facts to support

                10       their conclusory allegations that Defendants violated MHPAEA; and their unspecified fiduciary

                11       duty claims are duplicative of their ERISA claims for denial of benefits.

                12              Plaintiffs are members of employer-sponsored health benefit plans governed by ERISA.

                13       Specifically, Mr. and Ms. Wit are members of a fully-insured health plan sponsored by Insperity,

                14       which contracts with Mr. Wit’s employer to provide employee benefits. Mr. Muir, on the other

                15       hand, is a member of a self-insured health plan sponsored by Deloitte, LLP. According to

                16       Plaintiffs, UHIC is the designated “Claims Administrator” for both plans and has delegated some

                17       of its claims administration-related fiduciary duties with respect to mental health benefits to

                18       UBH. Plaintiffs claim that Ms. Wit submitted claims for residential treatment and nutritional

                19       counseling under the terms of her plan, and Mr. Muir submitted claims for residential treatment

                20       under the terms of his plan. Plaintiffs each assert that his claims for treatment were wrongfully

                21       denied. Plaintiffs further allege that those denials constituted wrongful denials of benefits and

                22       breaches of fiduciary duties under ERISA, but they fail to identify the specific provisions of

                23       ERISA that authorize their legal claims or the facts supporting those claims. Plaintiffs also

                24       contend that Defendants’ claims denials violated MHPAEA, the federal statute that requires

                25       parity in the manner in which plans administer mental health benefits versus medical/surgical

                26       benefits. Plaintiffs allege that Defendants violated MHPAEA by employing claims review

                27       methods for mental health benefits that were more restrictive than unidentified methods used for

                28       the review of medical/surgical benefits under the relevant plans.
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                     1           The conclusory allegations in Plaintiffs’ Complaint are insufficient to state a claim for

                     2   relief against Defendants under ERISA.

                     3           First, while Plaintiffs allege that Defendants violated ERISA in each of the three counts of

                     4   the Complaint, Plaintiffs fail to identify the specific basis under ERISA’s civil enforcement

                     5   provisions that gives rise to this suit. By failing to plead the basis for their ERISA claims,

                     6   Plaintiffs deprive Defendants of fair notice of the claims against them and the grounds upon

                     7   which the claims rest. This alone is grounds for dismissal of Plaintiffs’ Complaint in its entirety.

                     8           Second, Plaintiffs allege violations of MHPAEA in each of their counts, but fail to plead

                     9   even the most basic facts in support of those claims. For example, Plaintiffs fail to plead any
                10       actual disparity in the manner in which the “processes, strategies, evidentiary standards or other

                11       factors” were developed for mental health or substance use disorder benefits and those

                12       Defendants use for medical/surgical benefits. Similarly, Plaintiffs fail to plead any difference in

                13       the manner in which Defendants developed mental health and medical/surgical benefits within the

                14       same parity classification, which is necessary to violate MHPAEA. By not pleading any specific

                15       and actionable disparity, Plaintiffs fail to state a claim (be it for denial of benefits or breach of

                16       fiduciary duty) based on a violation of MHPAEA. And, with respect to the Wits’ claims for

                17       nutritional counseling, Plaintiffs do not allege facts to show that Defendants applied the limited

                18       benefit for nutritional counseling any differently for behavioral health benefits than for

                19       medical/surgical benefits. Because Plaintiffs fail to allege facts in support of a MHPAEA
                20       violation, Plaintiffs’ ERISA claims based on alleged violations of MHPAEA should be dismissed

                21       in all three counts.

                22               Third, Plaintiffs’ claim relating to nutritional counseling services for Ms. Wit in Count III

                23       fails because the Wits’ health plan excludes coverage for nutritional counseling, subject to a

                24       limited exception. Plaintiffs allege no facts to show that the Ms. Wit met the criteria for

                25       nutritional counseling benefits. In addition, Plaintiffs fail to allege sufficient facts to show that

                26       Ms. Wit exhausted her plan’s administrative appeals prior to initiating this lawsuit or that further

                27       appeals would be futile.

                28               Fourth, Plaintiffs allege substantively identical claims for denial of benefits and breach of
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                                                                           -3-       IN SUPPORT THEREOF; CASE NO. 3:14-CV-02346-JCS
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                     1   fiduciary duty under ERISA, including seeking the same relief for both claims. The case law is

                     2   clear that claims for breach of fiduciary duty under ERISA that mirror claims for denial of

                     3   benefits must be dismissed.

                     4          Based on the foregoing, Defendants respectfully request that the Court grant this Motion

                     5   and dismiss Plaintiffs’ Complaint in its entirety.1

                     6                                       STATEMENT OF FACTS
                     7          A.      Allegations Regarding Ms. Wit.
                     8          Plaintiffs allege that Ms. Wit was a member of the Insperity Group Health Plan (“Insperity

                     9   Plan”) provided by Defendants. Compl. ¶ 28. The Insperity Plan, which is attached to this
                10       Motion as Exhibit A, covers a limited number of mental health conditions and treatment.2
                11              Under the terms of the Insperity Plan, mental health services are provided in a variety of

                12       settings and at various levels of intensity, referred to as “levels of care.” In 2013, the Insperity

                13       Plan provided coverage at the following levels of care: (1) inpatient; (2) residential care facility;

                14       (3) partial hospitalization/day treatment; (4) intensive outpatient treatment; and (5) outpatient. 3

                15       See Insperity Plan at 16. The Insperity Plan conferred discretion upon Defendants to determine

                16

                17              1
                                  Defendants concurrently filed a Motion to Transfer Venue. Defendants respectfully
                         request that the Court rule on the Motion to Transfer Venue before reaching this Motion.
                18              2
                                   The terms of the Insperity Plan are incorporated into the Complaint by reference (see,
                19       e.g., Compl. ¶¶ 29–31, 45). See Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998 (9th Cir.
                         2010) (quoting Marder v. Lopez, 450 F.3d 445, 448 (9th Cir. 2006) (internal quotation marks
                20       omitted)) (“Although generally the scope of review on a motion to dismiss for failure to state a
                         claim is limited to the Complaint, a court may consider evidence on which the complaint
                21       necessarily relies if: (1) the complaint refers to the document; (2) the document is central to the
                         plaintiff’s claim; and (3) no party questions the authenticity of the copy attached to the 12(b)(6)
                22       motion.”); see also Declaration of Jane E. Stalinski in Support of Defendants United Healthcare
                         Insurance Company and United Behavioral Health’s Motions to Transfer Venue under 28 U.S.C.
                23       § 1404(a), to Dismiss, and to Seal (“Stalinski Decl.”), ¶ 4, Ex. 2 (authenticating the “Insperity
                         Plan”). All references to the “Insperity Plan” refer to the 2013 Certificate of Coverage, unless
                24       otherwise noted.
                                 3
                                   The Insperity Plan defines “residential care”, inter alia, as “a program of effective
                25       Mental Health Services” which provides room and board, evaluation and diagnosis and
                         counseling “in a 24-hour per day, structured milieu.” Insperity Plan at 77. The Plan defines
                26       “partial hospitalization” as a program that provides services for at least 20 hours per week. Id. at
                         76. “Intensive outpatient treatment” is defined as “a structured outpatient Mental Health or
                27       Substance Abuse Disorder treatment program that may be free-standing or Hospital-based and
                         provides services for at least three hours per day, two or more days per week. Id. at 74.
                28
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                                                                          -4-       IN SUPPORT THEREOF; CASE NO. 3:14-CV-02346-JCS
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                     1   coverage at the appropriate setting for treatment. Id. Plaintiffs allege that Defendants developed

                     2   “Level of Care Guidelines” that they use to determine when a particular level of care is covered

                     3   under the plan. Compl. ¶ 10.

                     4           Plaintiffs allege that Ms. Wit, a New York resident, was being treated for depression,

                     5   anxiety, obsessive-compulsive behaviors, an eating disorder, and other mental and physical health

                     6   conditions. Id. ¶ 32. Plaintiffs allege that, on April 29, 2013, Ms. Wit sought coverage for

                     7   treatment at Monte Nido Vista, a residential care center located in Southern California. Id. ¶¶ 32–

                     8   33. Plaintiffs contend that, on May 3, 2013, Defendant UBH denied Ms. Wit’s claim for

                     9   coverage of treatment at this facility. Id. ¶¶ 34–38. According to the Complaint, UBH denied
                10       this request because Ms. Wit posed no immediate risk of harm to herself or others, was not

                11       currently suffering from acute medical issues, had no need for 24-hour monitoring, and could be

                12       treated safely at a less restrictive level of care. Id.

                13               Ms. Wit contends that the denial of coverage was wrongful because: (i) UBH used the

                14       wrong guidelines in determining whether Ms. Wit was eligible for the coverage she requested,

                15       and (ii) UBH denied Ms. Wit’s request for treatment at a residential center on the grounds that a

                16       lower level of care (partial hospitalization) would be as safe, without also considering whether it

                17       would be as effective as residential care. Id.

                18               Plaintiffs also allege that United improperly denied claims for Ms. Wit relating to

                19       nutritional counseling. The medical/surgical portion of the Insperity Plan contains an express
                20       exclusion for “Individual and group nutritional counseling.” Insperity Plan at 30, 35–36; Compl.

                21       ¶ 45. The text of the exclusion is as follows:

                22               Section 2: Exclusions and Limitations
                23                               *                *                *
                24               To help you find specific exclusions more easily, we use headings (for example A.
                                 Alternative Treatments below)…Actual exclusions appear underneath
                25               headings…All exclusions in this section apply to you.
                26                               *                *                *
                27               J. Nutrition

                28
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                     1          1. Individual and group nutritional counseling. This exclusion does not apply to
                                medical nutritional education services that are provided by appropriately licensed
                     2          or registered health care professionals when both of the following are true:
                     3
                                        •     Nutritional education is required for a disease in which patient self-
                     4                  management is an important component of treatment.

                     5                  •      There exists a knowledge deficit regarding the disease which
                                        requires the intervention of a trained health professional.
                     6
                         Insperity Plan at 30, 35–36 (emphasis in original).
                     7
                                Plaintiffs allege that, in June 2013, Ms. Wit sought coverage for nutritional counseling
                     8
                         from UHIC (because it is a medical benefit—not a behavioral health benefit), and defendant
                     9
                         UHIC denied the claim. Compl. ¶ 44. Conspicuously absent from the Complaint are any facts
                10
                         indicating that either Ms. Wit informed UHIC that nutritional education was required for her
                11
                         treatment or that she had a knowledge deficit regarding nutrition and her condition (preconditions
                12
                         nutritional counseling coverage). Plaintiffs contend that nine months later, in March 2014, Ms.
                13
                         Wit submitted an appeal of the denial of her claims for nutritional counseling benefits by sending
                14
                         UHIC a letter citing the language of the nutritional counseling exclusion and stating that she had
                15
                         an eating disorder and resulting medical complications. Id. ¶ 45. UHIC responded by letter dated
                16
                         March 27, 2014 stating: “the health care service is not covered under the patient’s health benefit
                17
                         plan.” Id. ¶ 47. Plaintiffs allege that UHIC further responded by letter dated April 1, 2014,
                18
                         stating: “Upon further review of your request, we determined the questions and concerns
                19
                         expressed in your correspondence do not qualify as an appeal.” Id. ¶ 48.
                20
                                B.      Allegations Regarding Mr. Muir.
                21
                                Plaintiffs allege that Mr. Muir, a resident of Chicago, Illinois, was a member of a health
                22
                         plan sponsored by Deloitte, LLP (the “Deloitte Plan”), and that Defendant UHIC served as the
                23
                         Claims Administrator of the Deloitte Plan. Compl. ¶ 73. Plaintiffs further allege that the Deloitte
                24
                         Plan offered benefits for treatment of substance use disorders at various levels of care, including
                25
                         at a residential treatment center. Id. ¶ 78.
                26
                                Plaintiffs assert that Mr. Muir suffered from alcohol dependence, co-occurring depressive
                27
                         and anxiety disorders, suicidality, and a delayed traumatic reaction to childhood abuse. Id. ¶ 80.
                28
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                     1   Plaintiffs allege that, on March 1, 2013, Mr. Muir sought coverage for treatment for these

                     2   conditions at Sierra Tucson, an Arizona residential treatment facility. Id. ¶¶ 79–80. According to

                     3   Plaintiffs, UBH denied Mr. Muir’s request for coverage on March 6, 2013 based on UBH’s level

                     4   of care guidelines for residential rehabilitation for substance abuse disorders. Id. ¶ 81.

                     5          Plaintiffs further allege that UBH’s initial denial letter stated that Mr. Muir was not in

                     6   withdrawal, had demonstrated an ability to not use alcohol outside of a 24-hour treatment setting,

                     7   and could receive care in a partial hospitalization program. Id. ¶ 82. Plaintiffs further allege that

                     8   UBH’s appeal denial letter added, inter alia, that Mr. Muir had no medical or psychiatric co-

                     9   occurring conditions that required 24-hour management, had no lack of family support, and the
                10       evidence indicated he could receive “safe and effective treatment in a less intensive setting such

                11       as a Partial Hospital Program.” Id. ¶ 83.

                12              C.       Plaintiffs Assert Three Counts Under ERISA And Seek The Same Relief For
                                         Each Count.
                13
                                The Complaint consists of three counts. Count I is brought on behalf of the putative
                14
                         “Residential Treatment Fiduciary Duty Class” and is styled as a violation of unspecified fiduciary
                15
                         obligations under ERISA. Complaint at 30:10–13 (COUNT I). Count II is brought on behalf of
                16
                         the putative “Residential Treatment Benefit Class” and is styled as a claim for improper denial of
                17
                         benefits relating to mental health residential care. Id. at 31:5–8 (COUNT II). Finally, Count III
                18
                         is brought on behalf of a putative “Nutritional Counseling Class” and is styled as a claim for
                19
                         improper denial of benefits and/or an unspecified breach of fiduciary duty relating to the denial of
                20
                         claims for nutritional counseling. Id. at 31:20–25 (COUNT III).
                21
                                Regardless of how each count is styled, at bottom, Plaintiffs allege in each count that
                22
                         Defendants used improper policies and practices that restricted Plaintiffs from receiving certain
                23
                         benefits to which they were entitled under the terms of their health plans. For example:
                24
                                     •   In Count I, Plaintiffs allege that “defendants developed and relied upon internal
                25
                                         practices and policies that improperly restricted coverage . . . .” Compl. ¶ 105
                26                       (emphasis added). As a result, Plaintiffs have “been harmed . . . because their
                                         claims have been subjected to restrictions not imposed by their health insurance
                27                       plans and which are illegal under ERISA and the Federal Parity Act.” Id. ¶ 106
                                         (emphasis added). The Count, however, is silent as to the specific fiduciary duties
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                     1                  that Defendants purportedly breached except for their duty to provide benefits “in
                                        accordance with insurance plans terms.” Id. ¶ 104.
                     2
                                    •   In Count II, Plaintiffs allege: “Defendants wrongfully denied the claims submitted
                     3
                                        by the [Plaintiffs] . . . based upon policies and practices that they developed . . . .”
                     4                  Id. ¶ 109 (emphasis added). Plaintiffs allege that as a result, Plaintiffs “have been
                                        harmed by Defendants’ improper benefit denials because they were deprived of
                     5                  insurance benefits they were owed.” Id. ¶ 110 (emphasis added).
                     6              •   In Count III, Plaintiffs allege: “Defendants denied the claims submitted by
                                        Plaintiffs . . . based upon internal practices . . . .” Id. ¶ 113 (emphasis added).
                     7
                                        Plaintiffs allege that, as a result, “Defendants’ improper denials have caused
                     8                  financial damages to Plaintiffs… in the form of unreimbursed claims for
                                        nutritional counseling.” Id. ¶ 114 (emphasis added). Notwithstanding the fact that
                     9                  Count III is styled as one for breach of fiduciary duty, the Count is silent as to the
                                        nature of those duties or how they were allegedly violated.
                10
                                In the Complaint section titled “Requested Relief”, Plaintiffs seek the following relief for
                11
                         each of the three counts: (1) a declaration that policies and practices that allegedly led to the
                12
                         denial of Plaintiffs’ benefits are improper; (2) an injunction preventing Defendants from using the
                13
                         allegedly improper policies and practices; and (3) payment of benefits allegedly improperly
                14
                         denied because of the use of Defendants’ policies and practices. Compl., Requested Relief ¶¶ E–
                15
                         G. Plaintiffs, therefore, seek an order prohibiting the use of allegedly improper policies and
                16
                         practices (e.g., the level of care and coverage determination guidelines) so that Plaintiffs can
                17
                         recover the denied benefits that were subject to those policies and practices and to clarify their
                18
                         rights to those same benefits in the future. The Complaint does not differentiate the type of relief
                19
                         Plaintiffs seek under their “denial of benefits” claims versus their “breach of fiduciary duty”
                20
                         claims. See Compl., Requested Relief ¶¶ A–J.
                21
                                                                    ARGUMENT
                22
                                Federal Rule of Civil Procedure 12(b)(6) allows a party to move to dismiss a complaint
                23
                         for failure to state a claim. On a motion to dismiss, the Court will accept all well-pleaded facts as
                24
                         true and consider those facts in the light most favorable to the plaintiff. Zadrozny v. Bank of New
                25
                         York Mellon, 720 F.3d 1163, 1167 (9th Cir. 2013). The Court is not required, however, to accept
                26
                         conclusory allegations, unsupported conclusions, or unwarranted inferences, even if cast in the
                27
                         form of factual allegations. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955,
                28
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                     1   1965–66 (2007).

                     2             To survive dismissal, the plaintiff must provide the grounds upon which his claim rests

                     3   through specific factual allegations sufficient to raise a right to relief above the speculative level.

                     4   Coronado v. Chevy Chase Bank, FSB, 554 F. App’x. 549, 559 (9th Cir. 2014) (quoting Twombly,

                     5   550 U.S. at 555, 127 S. Ct. at 1265–66). The complaint must contain sufficient factual matter that

                     6   it states a plausible claim for relief. Ashcroft v. Iqbal, 556 U.S. 662, 679, 129 S. Ct. 1937, 1950

                     7   (2009); Fed. R. Civ. P. 8(a). “A claim has facial plausibility when the pleaded factual content

                     8   allows the court to draw the reasonable inference that the defendant is liable for the misconduct

                     9   alleged.” Iqbal, 556 U.S. at 663, 129 S. Ct. at 1940. Although the “plausibility standard is not
                10       akin to a ‘probability requirement,’” it does require “more than a sheer possibility that a

                11       defendant has acted unlawfully.” Id. at 678, 129 S. Ct. 1949.

                12                 ERISA plaintiffs must fully satisfy these same pleading standards. Notably, consistent

                13       with Twombly and Iqbal, in Fifth Third Bancorp v. Dudenhoeffer, 134 S. Ct. 2459 (2014), the

                14       Supreme Court emphasized that courts have an obligation to scrutinize ERISA class actions to

                15       separate the “plausible sheep from the meritless goats.” Id. at 2471. This requires a reviewing

                16       court to engage in a “careful, context-sensitive scrutiny” of a complaint’s allegations to ensure

                17       that, prior to engaging in costly discovery, it properly states a claim for relief. Id.

                18       I.        The Complaint Should Be Dismissed Because Plaintiffs Fail To Identify The Specific
                                   Terms of ERISA’s Enforcement Provisions Upon Which They Rely.
                19
                                   Plaintiffs’ Complaint should be dismissed because they fail to identify the specific bases
                20
                         for each of their counts. While they generally claim to bring ERISA claims under Section 502(a),
                21
                         29 U.S.C. § 1132(a), by failing to identify the specific provisions of ERISA’s civil enforcement
                22
                         scheme under which they are suing, Plaintiffs fail to provide Defendants sufficient notice of their
                23
                         claims.
                24
                                   When a plaintiff pleads rights under a statutory scheme, the plaintiff must ordinarily
                25
                         specify the appropriate statutory provisions that authorize the cause of action and detail the
                26
                         factual allegations that give rise to the application of that provision. See, e.g., Satre v. Wells
                27
                         Fargo Bank, N.A., 2013 WL 5913752, at *5 (N.D. Cal. Nov. 1, 2013) (requiring plaintiffs in a
                28
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                     1   Fair Debt Collection Practices Act case to plead both the appropriate subsection of the act and

                     2   detailed factual allegations to support the alleged violation of the act). This is essential to provide

                     3   fair notice to the defendants of the claim and the ground upon which the claim is based.

                     4   Fortaleza v. PNC Financial Services Group, Inc., 642 F. Supp. 2d 1012, 1020 (N.D. Cal 2009)

                     5   (holding that the plaintiff’s failure to allege the specific statutory provision pursuant to which she

                     6   sought relief or the specific conduct that violated that provision did not give defendants fair notice

                     7   of the claim and the ground upon which the claim rested); see also Twombly, 550 U.S. at 555, 127

                     8   S. Ct. at 1265 (mandating that a pleading must give “fair notice” of the claim being asserted and

                     9   the “grounds upon which it rests”).
                10               In each of their counts, Plaintiffs simply state that the count “is brought pursuant to 29

                11       U.S.C. § 1132(a)” (also known as ERISA § 502(a)). Complaint ¶¶ 102, 108, 112. This barebones

                12       identification of the specific basis for Plaintiffs’ claims is legally insufficient.

                13               The need to plead specific statutory provisions is particularly important in cases brought

                14       under ERISA Section 502(a). ERISA’s civil enforcement provision has ten different subsections

                15       which, in many situations, give rise to separate and distinguishable causes of action, demand

                16       proof of different elements, are available against only certain defendants, and provide various and

                17       differing forms of relief. See LaRue v. DeWolff, Boberg & Associates, Inc., 552 U.S. 248, 258–

                18       59, 128 S. Ct. 1020, 1027–28 (2008) (Roberts, J., concurring) (discussing the distinction between

                19       Section 502 subsections (a)(2), (a)(1)(B) and (a)(3)). Instead of identifying the particular
                20       statutory provisions on which they base their claims, Plaintiffs attempt to force Defendants to

                21       guess at Plaintiffs’ liability theories and the relief they seek. For instance, a plaintiff can

                22       sometimes assert a breach of fiduciary duty claim under either subsection (a)(2) or (a)(3), with

                23       each subsection providing different remedies (see Section IV, below). Plaintiffs’ failure to

                24       identify the specific ERISA provisions upon which they rest their claims requires dismissal at the

                25       pleadings stage.

                26       II.     Plaintiffs’ Claims That Are Based On A Violation Of MHPAEA Should Be
                                 Dismissed For Failure To Allege Facts That Show That Mental Health Benefits Were
                27               Not In Parity With Medical/Surgical Benefits.
                28               Plaintiffs claim that each of the three denials of benefits identified in the Complaint
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                     1   violated MHPAEA and thus give rise to their ERISA claims. The crux of Plaintiffs’ claims are

                     2   that Defendants applied a nonquantitative treatment limitation (“NQTL”) to deny their claims for

                     3   residential treatment and nutritional counseling and that Defendants have not used that same

                     4   NQTL to deny their claims for medical/surgical benefits. These barebones allegations do not

                     5   state a claim under ERISA for a violation of MHPAEA.

                     6          First, under the MHPAEA regulatory scheme, “[d]isparate results alone do not mean that

                     7   the NQTLs in use do not comply with” MHPAEA requirements. Departments of Treasury,

                     8   Labor, Health & Human Services, Final Rules under MHPAEA, 78 Fed. Reg. 68240, 68245

                     9   (Nov. 13, 2013) (codified at 29 C.F.R. pt. 2590). Plaintiffs must plead more than their claims for
                10       mental health benefits were denied based on an NQTL that is not used for medical/surgical

                11       benefits because MHPAEA does not prohibit different treatment limitations or rules governing

                12       coverage of benefits. Rather, the MNPAEA and the Rules require comparable processes for

                13       developing and applying coverage requirements and treatment limitations.

                14              Second, MHPAEA regulations make it clear that comparisons of NQTLs between mental

                15       health and medical/surgical benefits must be between benefits of the same classification (for

                16       example, inpatient/out-of-network benefits). Plaintiffs fail to plead any facts showing that the

                17       application of an NQTL to their claims for residential treatment and nutritional counseling was

                18       not comparable to, or was applied more stringently than, the application of an NQTL that applied

                19       to medical/surgical benefits of the same classification.
                20              The deficiencies in Plaintiffs’ allegations are obvious. Plaintiffs merely allege disparate

                21       results—that Defendants reached a different outcome in considering their claims for residential

                22       treatment and nutritional counseling than Defendants would have allegedly reached in a

                23       medical/surgical setting. Moreover, Plaintiffs fail to identify the classification of services at

                24       issue, much less compare the process used to develop and apply limitations within the same

                25       classification of services for mental health and medical/surgical benefits. Other than conclusory

                26       generalizations, Plaintiffs set forth no facts showing that Defendants used different processes in

                27       developing or applying treatment limitations for the mental health services Plaintiffs sought as

                28       compared to those Defendants used for medical/surgical services in the same classification of
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                     1   services.

                     2           A.      MHPAEA’s Statutory and Regulatory Provisions.
                     3           Congress enacted MHPAEA in 2008. MHPAEA does not require plans to provide

                     4   coverage for any specific mental health or substance abuse disorder. 28 U.S.C. § 1185a(c).

                     5   Rather, it provides that, where a plan does provide coverage for mental health and substance

                     6   abuse disorders, the financial requirements and treatment limitations for such coverage must be in

                     7   parity with the medical/surgical benefits offered under the same plan.

                     8           Under MHPAEA, the term “treatment limitation” includes “limits on the frequency of

                     9   treatment, number of visits, days of coverage, or other similar limits on the scope or duration of
                10       treatment.” Id. § 1185a(a)(3)(B)(iii). That statute’s parity provisions for treatment limitations

                11       require that:

                12                       the treatment limitations applicable to such mental health or substance use
                                         disorder benefits are no more restrictive than the predominant treatment
                13
                                         limitations applied to substantially all medical and surgical benefits
                14                       covered by the plan (or coverage) and there are no separate treatment
                                         limitations that are applicable only with respect to mental health or
                15                       substance use disorder benefits.
                16       Id. § 1185a(a)(3)(A)(ii).

                17               The Departments of Labor, Treasury and Health & Human Services (“the Departments”)

                18       issued Interim Final Regulations (the “IFRs”) for MHPAEA in February 2010. The Departments

                19       issued Final Rules on November 13, 2013. The regulations define the term “treatment limitation”

                20       as encompassing two subcategories: (i) quantitative treatment limitations (“QTLs”), which

                21       include plan limitations expressed in numbers, such as day limits on hospital lengths of stay, and

                22       (ii) non-quantitative treatment limitations (“NQTLs”), which include all plan limitations that are

                23       not expressed in dollars or numbers. 29 C.F.R. § 2590.712(a). NQTLs include such things as

                24       standards for determining medical necessity, whether a treatment is experimental, and other rules

                25       relating to determining the appropriate level of care for a patient. Id. § 2590.712(c)(4)(ii).

                26               With respect to NQTLs, the regulations state:

                27                       A group health plan (or health insurance coverage) may not impose a
                                         nonquantitative treatment limitation with respect to mental health or
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                     1                  substance use disorder benefits in any classification unless, under the
                                        terms of the plan (or health insurance coverage) as written and in
                     2                  operation, any processes, strategies, evidentiary standards, or other
                     3                  factors used in applying the nonquantitative treatment limitation to mental
                                        health or substance use disorder benefits in the classification are
                     4                  comparable to, and are applied no more stringently than, the processes,
                                        strategies, evidentiary standards, or other factors used in applying the
                     5                  limitation with respect to medical surgical/benefits in the classification,
                                        except to the extent that recognized clinically appropriate standards of
                     6                  care may permit a difference.
                     7
                         Id. § 2590.712(c)(4)(i) (emphasis added).4 In the preamble to the Final Rule, the Departments
                     8
                         reiterate that the NQTL analysis is not result focused:
                     9
                10                      [T]he regulations do not require plans and issuers to use the same NQTLs
                                        for both mental health and substance use disorder benefits and
                11
                                        medical/surgical benefits, but rather that the processes, strategies,
                12                      evidentiary standards, and other factors used by the plan or issuer to
                                        determine whether and to what extent a benefit is subject to an NQTL are
                13                      comparable to and applied to no more stringently for mental health or
                                        substance use disorder benefits than for medical/surgical benefits.
                14                      Disparate results alone do not mean that the NQTLs in use do not
                                        comply with these requirements.
                15

                16       78 Fed. Reg. 68240, 68245 (Nov. 13, 2013) (emphasis added).
                                The examples provided in the regulations explain that this means plans can utilize
                17
                         different treatment limitations for mental health versus medical/surgical benefits, so long as the
                18
                         process for developing and applying these different rules is the same. Example 3 in the IFR, for
                19
                         example, states that a plan can use different rules for whether a treatment is “medically
                20
                         appropriate” if these different rules are derived via the same process—recommendations from
                21
                         panels of experts with training and experience in the field:
                22

                23                      Example 3. (i) Facts. A plan generally covers medically appropriate
                                        treatments. For both medical/surgical benefits and mental health and
                24                      substance use disorder benefits, evidentiary standards used in determining
                25
                                4
                                  The Final Rule kept the language of this rule, except that it deleted the phrase “except to
                26       the extent that recognized clinically appropriate standards of care may permit a difference.” See
                         78 Fed. Reg. at 68244–45. The Final Rule became effective for plan years beginning on or after
                27       July 1, 2014, which is noteworthy because it does not apply to the conduct alleged in Plaintiffs’
                         May 21, 2014 complaint. Id. at 68240.
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                     1                  whether a treatment is medically appropriate (such as the number of visits
                                        or days of coverage) are based on recommendations made by panels of
                     2                  experts with appropriate training and experience in the fields of medicine
                     3                  involved. The evidentiary standards are applied in a manner that may
                                        differ based on clinically appropriate standards of care for a condition.
                     4
                                        (ii) Conclusion. In this Example 3, the plan complies with the rules of this
                     5                  paragraph (c)(4) because the nonquantitative treatment limitation—
                                        medical appropriateness—is the same for both medical/surgical benefits
                     6                  and mental health and substance use disorder benefits, and the processes
                     7                  for developing the evidentiary standards and the application of them to
                                        mental health and substance use disorder benefits are comparable to and
                     8                  are applied no more stringently than for medical/surgical benefits. This is
                                        the result even if, based on clinically appropriate standards of care, the
                     9                  application of the evidentiary standards does not result in similar numbers
                                        of visits, days of coverage, or other benefits utilized for mental health
                10                      conditions or substance use disorders as it does for any particular
                11                      medical/surgical condition.

                12       29 C.F.R. § 2590.712(c)(4)(iii) (Example 3 in the IFR).5 This would mean, for example, that a
                13       health plan could develop and apply different rules for determining when particular forms of
                14       inpatient care were medically necessary for mental health versus medical/surgical conditions – if
                15       these different rules were developed using the same process.6
                16
                                The regulations further interpret MHPAEA as requiring that parity be determined on a
                17
                         classification-by-classification basis. All benefits provided by a plan must be classified into one
                18
                         of six classifications, which are as follows: (1) inpatient, in-network, (2) inpatient, out-of-
                19       network, (3) outpatient, in-network, (4) outpatient, out-of-network, (5) emergency care, and
                20
                         (6) prescription drugs. 29 C.F.R. § 2590.712(c)(2)(ii).
                21
                                This classification system reflects the fact that health plans apply different types and
                22
                         levels of financial requirements and treatment limitations to services in these different
                23
                                5
                24               This example, as it appears in the Final Rule, is similar, with some revisions. For
                         example, the final sentence in the first paragraph has been revised to read: “The evidentiary
                25       standards are applied in a manner that is based on clinically appropriate standards of care for a
                         condition.” 29 C.F.R. § 2590.712(c)(4)(iii) (Example 4).
                26              6
                                   Rules of medical appropriateness for medical versus mental health conditions would be
                         expected to differ. For example, determining the appropriate level of care of medical/surgical
                27       services would not typically involve consideration of whether the patient posed an imminent
                         threat of danger to himself or others—a common consideration for mental health care services.
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                     1   classifications. For example, inpatient care typically involves intensive patient use of medical
                     2   facilities, such as residence in a hospital, skilled nursing facility, residential treatment center, or
                     3
                         partial hospitalization. A typical form of outpatient care, on the other hand, is a visit to a
                     4
                         physician’s office for an examination that may last minutes. Treatment limitations for inpatient
                     5
                         care, therefore, likely have no relevance to other classifications of services, such as an outpatient
                     6

                     7   visit to a physician’s office or the purchase of prescription drugs.

                     8           Thus, to state a claim under ERISA that a plan has violated MHPAEA, a claimant must do

                     9   more than simply plead that disparate standards exist or that disparate results occurred as the
                10
                         result of an application of an NQTL to a claim for mental health benefits. Instead, at a minimum,
                11
                         a claimant must plead facts to show that a health plan used processes, strategies, evidentiary
                12
                         standards, or other factors to develop or apply an NQTL, and those processes, strategies,
                13
                         evidentiary standards, or other factors are not comparable to or are applied more stringently than
                14

                15       those used with respect to medical/surgical benefits in the same classification. Plaintiffs have

                16       failed to plead any MHPAEA violation based on the foregoing.
                17               B.      Plaintiffs Fail to State a Claim Based On A Violation of MHPAEA As To
                                         Residential Treatment For Ms. Wit (Counts I and II).
                18
                                         1.      Plaintiffs Fail To Plead Facts Demonstrating That The Processes Used
                19                               For Treatment Limitations For The Wits’ Residential Services Claims
                                                 Were Not In Parity With Those Used For Medical/Surgical Benefits.
                20
                                 Plaintiffs’ only factual allegation supporting the claim that Defendants’ denial of Ms.
                21
                         Wit’s residential services violated MHPAEA is as follows: “[a]though the Wits have filed claims
                22
                         with United seeking benefits for medical/surgical services covered by their insurance plan, United
                23
                         has not subjected those claims to the same type of restrictive internal policies applicable to the
                24
                         Wits’ claims for residential treatment . . .” Compl. ¶ 25; see also ¶¶ 71–72 (restating a similar
                25
                         allegation as to Muir). Setting aside the conclusory nature of this allegation, as explained in the
                26
                         preamble to the Final Rule, “the regulations do not require plans and issuers to use the same
                27
                         NQTLs for both mental health and substance use disorder benefits and medical/surgical
                28
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                     1   benefits . . . ” 78 Fed. Reg. 68240, 68245 (Nov. 13, 2013). Instead, the regulations require that

                     2   “any processes, strategies, evidentiary standards, or other factors” used to develop or apply an

                     3   NQTL for mental health care benefits must be comparable to and applied no more stringently

                     4   than for medical/surgical benefits. 29 C.F.R. § 2590.712(c)(4)(i) (emphasis added).

                     5          Because Defendants can use different NQTLs (or apply the same NQTL differently) for

                     6   mental health and medical/surgical benefits, Plaintiffs must do more than plead that Defendants

                     7   used a different NQTL or applied an NQTL differently to their mental health benefits than to their

                     8   medical/surgical benefits. They have not done so. Plaintiffs have therefore failed to state a claim,

                     9   and Counts I and II should be dismissed.
                10             Plaintiffs also fail to state a claim under ERISA for a violation of MHPAEA because they
                11       fail to plead facts to show that Defendants applied an NQTL to their mental health benefits more
                12       stringently than what is applied to the same classification of medical/surgical benefits. Under
                13       MHPAEA, parity is determined on a classification-by-classification basis. See 29 C.F.R.
                14       § 2590.712(c)(2)(ii). A violation only exists if, for example, the processes used for developing
                15       and applying treatment limitations for inpatient, out-of-network services for mental health
                16       conditions are not at parity with those used for treatment limitations for inpatient, out-of-network

                17       services for medical/surgical health conditions. See 29 C.F.R. § 2590.712(c)(4)(i).

                18              Here, the Insperity Plan under which the Wits receive coverage classifies residential care

                19       as “inpatient” care, and the residential facility in Southern California where Ms. Wit stayed is out-
                20       of-network. Insperity Plan, MHPAEA Amendment at p. 2. To state a claim for violation of

                21       MHPAEA as to Ms. Wit’s residential care, Plaintiffs must allege facts showing that the processes

                22       used for developing and applying treatment limitations for residential treatment are not in parity

                23       with those used for inpatient, out-of-network medical/surgical services. 29 C.F.R.

                24       § 2590.712(c)(4)(i). Plaintiffs fail to allege such facts in the Complaint. Plaintiffs’ vague

                25       allegation that UBH did not subject other claims the Wits submitted to the same level of care

                26       guidelines is insufficient because Plaintiffs fail to allege facts showing that these other

                27       medical/surgical claims were for inpatient, out-of-network services (the same classification as the

                28       residential mental health services). As a result, Plaintiffs’ claims based on a violation of
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                     1   MHPAEA relating to the Wits’ residential treatment claim should be dismissed.

                     2          C.      Plaintiffs Fail to State a Claim Based On A Violation Of MHPAEA As To
                                        Residential Care for Mr. Muir (Counts I and II).
                     3
                                Plaintiffs’ assertion that the denial of Mr. Muir’s claim for treatment at a residential
                     4
                         facility violated MHPAEA is based on the following limited allegations:
                     5
                                        [W]ithin the past year Plaintiff Muir has filed claims with United seeking
                     6                  benefits for medical/surgical services covered by his insurance plan[.]
                     7                  United has not subjected those claims to the type of substance abuse
                                        coverage restrictions identified herein (e.g., the requirement that a lower
                     8                  level of care be utilized if it is safe—even if not as effective as the higher
                                        level sought, and the obligation to prove by “compelling evidence” that
                     9                  continued treatment in a current level of care is necessary to prevent acute
                                        deterioration or exacerbation of his condition).
                10
                         Compl. ¶ 72. These allegations also fail to state a claim based on a violation of MHPAEA.
                11
                                First, the conclusory allegation in Paragraph 72 of the Complaint that Defendants denied
                12
                         Mr. Muir’s claim by using more restrictive criteria than the criteria applied to medical/surgical
                13
                         benefits is contradicted by Plaintiffs’ more specific allegations in the Complaint:
                14
                                        •       In Paragraph 72, Plaintiffs allege that Defendants did not consider whether
                15                      a lower level of care was both safe and effective. But in Paragraph 83, Plaintiffs
                                        allege that Defendants’ denial letter to Mr. Muir stated that “[t]h[e] evidence
                16                      indicates you can receive safe and effective treatment in a less intensive setting
                17                      such as [a] Partial Hospital Program, which was discussed with your provider.”
                                        •      In Paragraph 72, Plaintiffs allege that Defendants imposed a “compelling
                18                      evidence” standard to continual residential care for Mr. Muir. But the citations to
                19                      Defendants’ denial letters in Paragraphs 82-83 contain no reference to application
                                        of a compelling evidence standard.
                20
                                Plaintiffs cannot rely on factual allegations that are directly refuted by documents
                21
                         incorporated in the Complaint. See Steckman v. Hart Brewing, Inc., 143 F.3d 1293, 1295–96 (9th
                22
                         Cir. 1998) (stating that on a motion to dismiss, the court is “not required to accept as true
                23
                         conclusory allegations which are contradicted by documents referred to in the complaint.”). Yet,
                24
                         that is precisely what Plaintiffs do. It simply is not enough to allege that Defendants developed
                25
                         restrictive standards for evaluating residential treatment when the actual documents incorporated
                26
                         into the pleading demonstrate otherwise.
                27
                                Second, Plaintiffs must do more than allege that Defendants applied an NQTL to their
                28
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                     1   mental health benefits that, in their experience, has not been applied to their medical/surgical

                     2   benefits (or that Defendants applied the same NQTL differently to their mental health claims than

                     3   to their medical/surgical claims). Plaintiffs must allege that the “processes, strategies, evidentiary

                     4   standards, and other factors used by [Defendants] to determine whether and to what extent their

                     5   benefit was subject to the NQTL” were not comparable to or were applied more stringently to

                     6   their mental health benefit claims. 78 Fed. Reg. 68240, 68245 (Nov. 13, 2013). They have not

                     7   done so, and Mr. Muir’s claims must therefore be dismissed.

                     8          Third, the MHPAEA allegations for Mr. Muir, like those for Ms. Wit, fail to compare

                     9   benefits on a classification-by-classification basis as required by the regulations. See 29 C.F.R. §
                10       2590.712(c)(2)(ii). The Deloitte Plan, under which Mr. Muir received health benefits coverage,

                11       classifies residential care as “inpatient” care. Deloitte Plan at p. 30.7 To state a claim for a

                12       violation of MHPAEA, Plaintiffs must allege facts showing that the processes used for

                13       developing and applying treatment limitations for Mr. Muir’s residential treatment were not in

                14       parity with those used for inpatient, out-of-network medical/surgical benefits. Plaintiffs’ vague

                15       allegation that Defendants did not subject “other medical/surgical claims” for Mr. Muir to the

                16       same treatment limitations does not include facts showing that these other medical/surgical claims

                17       were for inpatient, out-of-network services. As a result, Plaintiffs’ claims based on a violation of

                18       MHPAEA relating to Mr. Muir’s residential treatment claims must be dismissed.

                19              D.      Plaintiffs Fail To State A Claim Based On A Violation Of MHPAEA As To
                                        Nutritional Counseling For Ms. Wit (Count III).
                20
                                Plaintiffs also allege that Defendants’ denial of nutritional counseling benefits to Ms. Wit
                21
                         violated MHPAEA, asserting that “any exclusions of nutritional counseling for eating disorders,
                22
                         which are covered conditions of her plan, also violate the Federal Parity Act since nutritional
                23
                         counseling is otherwise covered for the treatment of medical disorders.” Compl. ¶ 49. This claim
                24
                         is legally deficient and must be dismissed for the following reasons.
                25

                26
                                7
                                  The terms of the Deloitte Plan, which is attached to this Motion as Exhibit B, are
                27       incorporated into the Complaint by reference (see, e.g., Compl. ¶¶ 75-78). See Daniels-Hall, 629
                         F.3d at 998; see also Stalinski Decl., ¶ 5, Ex. 4 (authenticating the “Deloitte Plan”).
                28
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                     1          First, Plaintiffs fail to acknowledge that the limited exception for coverage for nutritional

                     2   counseling—regardless whether it arises out of a medical/surgical or mental health condition—is

                     3   a medical benefit under the Wits’ Insperity Plan and applies equally to all health conditions. See

                     4   Insperity Plan at 35–36. The plan includes an exclusion for nutritional counseling in any context,

                     5   with a narrow exception. See id. (exclusion for nutritional counseling listed in medical benefits

                     6   and separately from descriptions of mental health and substance abuse benefits listed in Sections

                     7   2(H), 2(R), and the MHPAEA Amendment). Indeed, the detailed and lengthy description of

                     8   mental health and substance abuse benefits covered by the Insperity Plan (in the MHPAEA

                     9   Amendment) contains no mention whatsoever of nutritional counseling. And, even Plaintiffs
                10       concede that when Ms. Wit sought coverage for nutritional counseling, she directed her inquiries
                11       to UHIC—not UBH. UHIC is responsible for the administration of medical/surgical benefits.
                12              The fact that some of the conditions for which Ms. Wit sought treatment were mental
                13       health conditions is irrelevant—under MHPAEA, it is the benefits which must be in parity. 29
                14       C.F.R. § 2590.712(b)(1). Additionally, the determination of whether a benefit is a mental health
                15       or medical benefit does not take place on a case-by-case basis; rather, under the IFRs, the plans
                16       are given discretion to define what constitutes a “medical/surgical benefit” or a “mental health
                17       benefit” (or “substance use disorder benefit”), so long as such definitions are consistent with
                18       applicable law and generally recognized independent medical standards. See id. § 2590.712(a).
                19       Since the conduct that the Wits complain about is solely related to a medical benefit that applies
                20       to medical and mental health conditions, the parity requirements of MHPAEA are inapplicable.

                21              Second, even if the Wits’ nutritional counseling claim was governed by MHPAEA,

                22       Plaintiffs also fail to allege that Defendants apply that alleged benefit differently for those seeking

                23       treatment of mental health conditions versus medical conditions. Absent such an allegation,

                24       Plaintiff’s claim for violation of MHPAEA must be dismissed. 29 U.S.C. § 1185a(a)(3)(A)(ii).

                25       III.   Count III Should Be Dismissed Because Plaintiffs Fail To State A Claim For
                                Wrongful Denial Of Nutritional Counseling Benefits Under ERISA.
                26
                                A.      Plaintiffs Fail To Allege Facts Showing That Ms. Wit Was Entitled to
                27                      Nutritional Counseling Under The Terms of Her Health Plan.
                28              Although Plaintiffs allege that the denial of nutritional counseling benefits for the Wits
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                     1   violated the terms of their health plan, Plaintiffs cannot ignore that their plan includes an express

                     2   benefits exclusion for nutritional counseling services. It is beyond dispute that an ERISA plan

                     3   member’s entitlement to benefits is set by the terms of the plan, which is interpreted under

                     4   traditional rules of contractual construction. US Airways, Inc. v. McCutchen, 133 S. Ct. 1537,

                     5   1541 (2013) (“Courts construe ERISA plans, as they do other contracts, by ‘looking to the terms

                     6   of the plan’ as well as to ‘other manifestations of the parties’ intent.’”); Gilliam v. Nevada Power

                     7   Co., 488 F.3d 1189, 1194 (9th Cir. 2007) (stating that an “ERISA plan is a contract” which is

                     8   interpreted using contract principles derived from state law by the policies expressed in ERISA).

                     9          Plaintiffs concede that the Wits’ plan contains this exclusion. Compl. ¶ 45; see also
                10       Statement of Facts, Section II.A, above. They appear to rely on a limited exception to the

                11       exclusion for nutritional “education” services designed to remedy a “knowledge deficit regarding

                12       the disease.” See Compl. ¶ 45. In the Complaint, however, Plaintiffs do not allege that Ms. Wit

                13       had such a knowledge deficit or otherwise met the requirements for this exception to the

                14       nutritional counseling exclusion. Rather, Plaintiffs merely allege that Ms. Wit informed UHIC

                15       that she suffered from an eating disorder and resulting medical complications. Id.

                16              These allegations are insufficient as a matter of law to state an ERISA denial of benefits

                17       claim. Because the Complaint fails to allege facts showing that Ms. Wit was entitled to

                18       nutritional counseling under the terms of the Insperity Plan, Count III should be dismissed. See

                19       Iqbal, 556 U.S. at 678, 129 S. Ct. at 1949; Fed. R. Civ. P. 8(a); see also Forest Ambulatory
                20       Surgical Associates, L.P. v. United HealthCare Ins. Co., 2011 WL 2748724, at *6 (N.D. Cal. July

                21       13, 2011) (applying the Rule 8 pleading standard and granting defendant’s motion to dismiss).

                22              B.      Plaintiffs Fail To Plead Facts Demonstrating That Ms. Wit Exhausted Her
                                        Administrative Remedies Relating To Her Nutritional Counseling Claims.
                23
                                Count III of the Complaint also should be dismissed because Plaintiffs fail to allege facts
                24
                         to show that Ms. Wit exhausted her plan’s internal review process with respect to nutritional
                25
                         counseling, or that such appeals would have been futile.
                26
                                To bring an ERISA denial of benefits action, a plaintiff must first exhaust the internal
                27
                         review processes offered by her plan. Diaz v. United Agr. Employee Welfare Ben. Plan & Trust,
                28
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                     1   50 F.3d 1478, 1483 (9th Cir. 1995) (citing Amato v. Bernard, 618 F.2d 559, 566–68 (9th Cir.

                     2   1980)). This exhaustion requirement reduces frivolous litigation, minimizes costs, and ensures

                     3   consistency in claims administration. Because of these compelling policy goals, “as a matter of

                     4   sound policy [courts] should usually” enforce the exhaustion requirement. Amato, 618 F.2d at

                     5   568. Plaintiffs fail to allege facts to show that Ms. Wit exhausted her plan’s appeals process.

                     6          Under the Wit plan, a member must receive a final decision on an appeal of a claim

                     7   determination before seeking other relief. Insperity Plan at 67. An appeal must contain the

                     8   patient’s name and identification number; the date of service; the provider’s name; the reason the

                     9   patient believes the claim should be paid; and “any documentation or other written information to
                10       support [the patient’s] request for claim payment.” Id. at 54. If the denial is upheld on appeal, a

                11       patient may request a review by an Independent Review Organization or a second-level appeal,

                12       depending on the nature of the initial denial. Id. at 55–56.

                13              Plaintiffs allege Ms. Wit submitted an “appeal” to UHIC on March 25, 2014. Compl.

                14       ¶ 45. In the submission, Ms. Wit merely cited to language regarding nutritional coverage in the

                15       Certificate of Coverage and stated that “UHC/UBH’s case files contain substantial clinical

                16       information about my eating disorder and the bases for nutritional counseling services.” Id. Ms.

                17       Wit provided no additional information, clinical or otherwise, supporting her claim that her plan’s

                18       exclusion for nutritional counseling should not apply to her.

                19              According to Plaintiffs, Defendants told Ms. Wit that the March 25, 2014 submission did
                20       “not qualify as an appeal.” Compl. ¶ 48. Plaintiffs, however, do not allege that they made any

                21       further submissions to Defendants to challenge the denial of coverage. Instead, Plaintiffs

                22       conclude, albeit unjustifiably, that pursuing additional remedies would be futile. See id. ¶ 49.

                23       These allegations are insufficient to show that Ms. Wit exhausted her plan’s internal review

                24       processes or that further use of those processes would be futile.

                25              When asserting futility, a plaintiff must show that the appeal is “demonstrably doomed to

                26       fail.” Diaz, 50 F.3d at 1485. This requires more than “bare assertions” that administrative

                27       appeals would fail. Id. For example, where “the record contains nothing but speculation to

                28       suggest that the administrators would have reached a preconceived result,” courts will not deem
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                     1   exhaustion to be futile. Id. at 1486; see also Foster v. Blue Shield of California, 2009 WL

                     2   1586039, at *5 (C.D. Cal. June 3, 2009) (discussing the showing required by Diaz to demonstrate

                     3   futility); Moyle v. Golden Eagle Ins. Corp., 239 F. App’x 362, 364 (9th. Cir. 2007) (upholding

                     4   dismissal of an ERISA claim for failure to exhaust and declining to find futility absent a showing

                     5   that the plan administrator “would not fairly consider [a] claim”).

                     6          Here, Plaintiffs do not allege facts to show that the appeals process for the Wits’

                     7   nutritional claims had either been exhausted or were “doomed to fail.” Nor do they support a

                     8   contention that the Wits’ claims or a related appeal would not be fairly considered if properly

                     9   submitted. The allegations in the Complaint actually confirm that Ms. Wit was notified that her
                10       prior submission did not constitute an appeal. As result, Plaintiffs’ claims based on Ms. Wit’s

                11       nutritional counseling should be dismissed.

                12       IV.    Counts I And III Should Be Dismissed To The Extent They Are Based On An
                                Alleged Breach of Fiduciary Duty Under ERISA.
                13
                                Plaintiffs’ ERISA breach of fiduciary duty claims, which appear to be raised in Counts I
                14
                         and III, should be dismissed because Plaintiffs fail to state claims upon which relief can be
                15
                         granted. As a threshold matter, as discussed above, Plaintiffs’ failure to give proper notice of the
                16
                         provision in the ERISA civil enforcement scheme that allegedly gives rise to their fiduciary duty
                17
                         claims is sufficient grounds for dismissal. In addition, even if Plaintiffs cured this deficiency by
                18
                         specifying that they are bringing their fiduciary duty claims under Section 502(a)(3), for example,
                19
                         they still have not stated a claim for relief. Because Plaintiffs allege no fiduciary duty that was
                20
                         breached other than a duty to pay benefits, and all of the relief they seek is available if they
                21
                         prevail on their claim for benefits, presumably under Section 502(a)(1)(B), Plaintiffs’ ERISA
                22
                         claims for breach of fiduciary duty should be dismissed.
                23
                                A.      A Claim Under ERISA Section 502(a)(3) Gives Rise To Equitable Relief Not
                24                      Available Elsewhere.
                25              A participant or beneficiary of a plan can bring a civil action under Section 502(a)(1)(B)

                26       “to recover benefits due to him under the terms of his plan, to enforce his rights under the terms

                27       of the plan, or to clarify his rights to future benefits under the terms of the plan.” 29 U.S.C.

                28       § 1132(a)(1)(B). Section 502(a)(1)(B) provides for declaratory relief, an injunction that
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                     1   effectuates the recovery of benefits, enforcement of rights under the terms of a plan, and

                     2   clarification of rights to future benefits under the terms of the plan. See Mass. Mut. Life Ins. Co.

                     3   v. Russell, 473 U.S. 134, 146–47 (1985) (“To recover the benefits due her, [the plaintiff] could

                     4   have filed an action pursuant to § 502(a)(1)(B) to recover accrued benefits, to obtain a declaratory

                     5   judgment that she is entitled to benefits under the provisions of the plan contract, and to enjoin

                     6   the plan administrator from improperly refusing to pay benefits in the future.”).

                     7          In contrast, Section 502(a)(3) only allows a plaintiff to seek “appropriate equitable relief

                     8   for injuries caused by [ERISA] violations that § 502 does not elsewhere adequately remedy.”

                     9   Varity Corp. v. Howe, 516 U.S. 489, 512, 116 S. Ct. 1065, 1078 (1996) (emphasis added). Where
                10       a plaintiff alleges an injury that Section 502 addresses elsewhere, Section 502(a)(3)’s “catchall”

                11       cause of action is unavailable. See id. at 515, 116 S. Ct. at 1079; Cline v. Industrial Maintenance

                12       Eng. & Contracting, 200 F.3d 1223, 1229 (9th Cir. 2000) (stating that Section 502(a)(3)

                13       “provides relief only for injuries for which adequate remedy is not otherwise provided”); Johnson

                14       v. Buckley, 356 F.3d 1067, 1077 (9th Cir. 2004) (“[W]hen relief is available under

                15       [Section 502(a)(1)], courts will not allow relief under [Section 502(a)(3)’s] ‘catch-all

                16       provision.’”). Moreover, while Section 502(a)(3)(B) authorizes suits in federal court for

                17       “appropriate equitable relief” to remedy violations of a plan or to enforce its provisions, courts

                18       have limited and narrowed this phrase to include only “those categories of relief that, traditionally

                19       speaking (i.e., prior to the merger of law and equity) were typically available in equity.” Cigna
                20       Corp. v. Amara, 131 S. Ct. 1866, 1878 (2011) (emphasis in original) (internal quotation marks

                21       omitted); see also Brady v. United of Omaha Life Ins. Co., 902 F. Supp. 2d 1274, 1281 (N.D. Cal.

                22       2012) (interpreting Section 502(a)(3) as providing a “relatively narrow” scope of relief).

                23              B.      Plaintiffs’ Fiduciary Duty Claims Are Rooted In Plaintiffs’ Claim That They
                                        Were Wrongfully Denied Benefits, And Their Requests For Relief Duplicate
                24                      Relief Available Under Section 502(a)(1)(B).
                25              While Plaintiffs make sweeping statements in Counts I and III that Defendants breached

                26       fiduciary duties owed under ERISA, the only fiduciary duties mentioned by Plaintiffs are

                27       Defendants’ decisions related to the payment of benefits. For example, in Count I, Plaintiffs

                28       allege that Defendants breached their fiduciary duties by relying “upon internal practices and
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                     1   policies that improperly restricted coverage,” which caused harm to Plaintiffs “because their

                     2   claims have been subjected to restrictions not imposed by their health insurance plans.” Compl.

                     3   ¶¶ 105, 106. In Count III, Plaintiffs bring a claim for improper denial of benefits and/or breach of

                     4   fiduciary duty based on the allegations that Defendants “denied the claims submitted by Plaintiffs

                     5   and other members of the Nutritional Counseling Class, based upon internal practices that are

                     6   inconsistent with the relevant terms of the health insurance plans,” which caused “unreimbursed

                     7   claims for nutritional counseling.” Id. ¶¶ 112–114.

                     8          The gravamen of Counts I and III for breach of fiduciary duty is the allegation that

                     9   Defendants used improper policies and practices that restricted Plaintiffs from receiving certain
                10       benefits to which they were entitled. See, e.g., id. ¶¶ 105, 109, 113; Statement of Facts, Section

                11       II.C, above. To remedy this alleged harmful conduct, Plaintiffs seek a judgment on all three

                12       counts “[d]eclaring that Defendants’ application of the policies and practices complained of . . .

                13       are contrary to, and in violation of, the terms of its insurance plans, ERISA, the Federal Parity

                14       Act, and Defendants’ fiduciary duties.” Compl., Requested Relief ¶ E. They also seek a

                15       “permanent injunction ordering United to cease the improper policies and practices . . . .” Id.,

                16       Requested Relief ¶ F. And, they seek a judgment “[o]rdering United to recalculate and issue

                17       unpaid benefits to members of the classes whose claims were underpaid or denied as a result of

                18       United’s actions as detailed herein.” 8 Id., Requested Relief ¶ G.

                19              Each of Plaintiffs’ prayers for relief is based on an alleged denial of benefits and requests
                20       relief available in a claim for denial of benefits under ERISA Section 502(a)(1)(B). See Mass.

                21       Mut. Life Ins. Co, 473 U.S. at 146–47, 105 S. Ct. at 3092. To the extent Plaintiffs are asserting a

                22       claim under ERISA Section 502(a)(3) for breach of fiduciary duty, the relief they seek is

                23
                                8
                                   Plaintiffs fail to plead separate prayers for relief for each of their three counts, likely to
                24       attempt to avoid the dismissal of their camouflaged breach of fiduciary duty claims. See also
                         Statement of Facts, Section II.C, above. Plaintiffs’ conflating and copying of allegations between
                25       their three counts (see, e.g., Compl. ¶¶ 101–114) demonstrates that Plaintiffs’ fiduciary duty
                         claims are duplicative of their denial of benefits claims under Section 502(a)(1)(B), lending
                26       further support for the dismissal of Plaintiffs’ fiduciary duty claims. See Pelosi v. Schwab
                         Capital Markets, L.P., 462 F.Supp.2d 503, 515 (S.D.N.Y. 2006) (dismissing fiduciary duty claim
                27       under ERISA § 502(a)(3) where it “alleges the same misconduct and seeks the same remedy” as
                         the plaintiffs’ other ERISA claims).
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                     1   duplicative of the relief available for their ERISA Section 502(a)(1)(B) claim for denial of

                     2   benefits. See Brady, 902 F. Supp. 2d at 1285–86 (finding a declaration to an entitlement to future

                     3   benefits was duplicative of relief available under Section 502(a)(1)(B)). Because Section

                     4   502(a)(1)(B) already provides an appropriate remedy if Plaintiffs prevail on that claim, any claim

                     5   by Plaintiffs under ERISA Section 502(a)(3) is duplicative and should be dismissed.

                     6                                                  CONCLUSION
                     7          Defendants respectfully request that the Court grant Defendants’ Motion and dismiss

                     8   Plaintiffs’ Complaint in its entirety because Plaintiffs: (1) fail to give Defendants fair notice of the

                     9   claims being asserted against them by not identifying the particular provisions in ERISA’s civil
                10       enforcement scheme under which Plaintiffs seek relief; (2) fail to allege actionable disparity

                11       between mental health or substance use disorder benefits and medical/surgical benefits; (3) fail to

                12       allege that any exception applies to the general exclusion for nutritional counseling benefits under

                13       the Wits’ plan or that the Wits exhausted their administrative remedies; and (4) plead

                14       substantively identical denial of benefits and fiduciary duty claims, including seeking the exact

                15       same relief for all of these claims, thereby showing that appropriate remedies are otherwise

                16       available under ERISA and its fiduciary duty claims are duplicative and unnecessary.

                17
                         Dated: July 18, 2014                                     CROWELL & MORING LLP
                18
                                                                                       /s/ Nathaniel P. Bualat
                19
                                                                                   Christopher Flynn
                20                                                                Jennifer S. Romano
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                21                                                              Attorneys for Defendants
                                                                     UNITED HEALTHCARE INSURANCE COMPANY
                22                                                        and UNITED BEHAVIORAL HEALTH
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